946 F.2d 886
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Norman RYMAN, Plaintiff-Appellant,v.Bishop ROBINSON, Mr. Secretary;  Lanham, Mr. Commissioner,Defendants-Appellees.
    No. 91-6597.
    United States Court of Appeals, Fourth Circuit.
    Submitted Aug. 23, 1991.Decided Oct. 18, 1991.
    
      Appeal from the United States District Court for the District of Maryland, at Baltimore.   Frederic N. Smalkin, District Judge.  (CA-91-976-S)
      Norman Ryman, appellant pro se.
      Timothy James Paulus, Assistant Attorney General, Baltimore, Md., for appellees.
      D.Md.
      AFFIRMED.
      Before DONALD RUSSELL, WIDENER and K.K. HALL, Circuit Judges.
      OPINION
      PER CURIAM:
    
    
      1
      Norman Ryman appeals from the district court's order denying relief under 42 U.S.C. § 1983.   Our review of the record and the district court's opinion discloses that this appeal is without merit.   Accordingly, we affirm on the reasoning of the district court.   Ryman v. Robinson, CA-91-976-S (D.Md. June 3, 1991).   We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    